Case 1:21-cv-21287-RKA Document 56 Entered on FLSD Docket 11/09/2021 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                           CASE NO.: 1:21-CV-21287-ALTMAN/REID

  ABIGAIL VELEZ,

         Plaintiff,

  vs.

  D NAMAKA FACTION CORP.
  D/B/A DNF INSURANCE, AND
  MATHIU MUNOZ PEREZ,

        Defendants.
  ______________________________/

                      PLAINTIFF’S NOTICE OF NINETY DAYS EXPIRING

         Plaintiff, Abigail Velez, notifies the Court that ninety (90) days have elapsed since the filing

  of Defendants’ Motion to Dismiss [ECF No. 21], and Plaintiff’s Response in Oppositiont o

  Defendants’ Motion to Dismiss [ECF No. 23], without a hearing or ruling thereon.

         Dated this 9th day of November 2021.


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